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04/15/24                   OSCEOLA COUNTY SHERIFF'S OFFICE                            208
11:11                             CALL DETAIL REPORT                        Page:       1
Call Number:    24C062571
Nature:         WANTED PERSON
Reported:       18:08:18 04/11/24
Rcvd By:        SAVILLO, DOM                     How Rcvd: 9
Occ Btwn:       18:08:19 04/11/24      and 18:09:08 04/11/24
Type:           l
Priority:       1
Address:        402 SIMPSON RD; OSCEOLA COUNTY CORRECTIO
City:           KISSIMMEE
Alarm:
COMPLAINANT/CONTACT
-------------------
Complainant: ,                                                     Name#:
Race:      Sex:     DOB:         **
Address: ,
Home Phone:                                     Work Phone:
Contact: JEREMY DEWITT 021080
Address: 400 SIMPSON ROAD ated
Phone: (407)348-2158

RADIO LOG
---------
Dispatcher Time/Date         Unit   Code Zone Agnc Description
---------- ----------------- ------ ---- ---- ---- ----------------------------
MORTIMORE, 18:30:54 04/11/24 264    ENRT 67   OCSO incid#=24I039442 Enroute to
                                                   a call disp:CLO call=379l
MORTIMORE, 19:01:48 04/11/24 264    BUSY 67   OCSO incid#=24I039442 corr
                                                   call=379l
WHITEHAIR, 19:03:51 04/11/24 264    TT   67   OCSO H300423800500 FL
WHITEHAIR, 19:09:04 04/11/24 264    TT   67   OCSO D300423800500 FL
WHITEHAIR, 19:14:44 04/11/24 264    TT   67   OCSO T99 OUR AGENCY FL INAMTE &
                                                   37 OFFENDER // VCE 2028 //
                                                   CAD HX ADVD //
WHITEHAIR, 19:15:01 04/11/24 264    58   67   OCSO EAST
MORTIMORE, 19:16:54 04/11/24 264    15   67   OCSO WM
MORTIMORE, 19:16:59 04/11/24 264    ENRT 67   OCSO incid#=24I039442 CORR
                                                   call=379l
PAGAN, DAN 19:30:42 04/11/24 264    NMIN 64   OCSO MDC: dl=D300423800500
                                                   state=FL
PAGAN, DAN 19:30:43 04/11/24 264    DLIN 64   OCSO MDC: dl=D300423800500
                                                   state=FL
MORTIMORE, 19:36:36 04/11/24 264    BUSY 67   OCSO incid#=24I039442 CORR
                                                   call=379l
MORTIMORE, 19:53:45 04/11/24 264    43   67   OCSO SPILLMAN IS DOWN IN THE JAIL
                                                   NO WAY FOR US TO DO THE
                                                   BOOKING
MORTIMORE, 21:07:15 04/11/24 271    ENRT 67   OCSO incid#=24I039442 c=379l
MORTIMORE, 21:07:37 04/11/24 271    CMPL 67   OCSO incid#=24I039442 Reassigned
                                                   to call 463l, completed call
                                                   379l
                                                                            Exhibit
                                                                       _____________
                                                                             1
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11:11                           CALL DETAIL REPORT                         Page:      2

MORTIMORE, 21:15:23 04/11/24 264      CMPL 67    OCSO incid#=24I039442 Completed
                                                      call disp:ACT clr:A
                                                      call=379l

COMMENTS
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  18:08:19 04/11/2024 - SAVILLO, DOM CNTX data. Caller Name: OSCEOLA CTY FIRE
  E911 CALL JAI, Phone: (407)348-2158, UNC: 0, Lat: 0, Long: 0, Est. Loc.: 400
  SIMPSON ROAD ated 18:09:07 04/11/2024 - SAVILLO, DOM TURNING HIMSELF IN/
  FAILURE TO APPEAR OUT OF OSCEOLA CO /. LSW GRN SHIRT AND BLK PANTS 18:59:51
  04/11/2024 - MORGAN, N COMPL RE-LL ADV HES BEEN WAITING FOR 2 HOURS REQ ETA /
  ADV DS ENRT

UNIT HISTORY
------------
Unit   Time/Date           Code
------ ------------------- ----
264    18:30:54 04/11/24   ENRT
264    19:01:48 04/11/24   BUSY
264    19:03:51 04/11/24   TT
264    19:09:04 04/11/24   TT
264    19:14:44 04/11/24   TT
264    19:15:01 04/11/24   58
264    19:16:54 04/11/24   15
264    19:16:59 04/11/24   ENRT
264    19:30:42 04/11/24   NMIN
264    19:30:43 04/11/24   DLIN
264    19:36:36 04/11/24   BUSY
264    19:53:45 04/11/24   43
264    21:15:23 04/11/24   CMPL
271    21:07:15 04/11/24   ENRT
271    21:07:37 04/11/24   CMPL
RESPONDING OFFICERS
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Unit   Officer
------ --------------------
264    PAGAN, DANIEL
271    CRUZ, JEREMY

INVOLVEMENTS
------------
Type Record#   Date     Description                  Relationship
---- --------- -------- ---------------------------- ------------------------
LW   24I039442 04/11/24 WANTED PERSON 24I039442 402 Initiating Call
